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 11           Attorneys for Debtors

 12                               UNITED STATES BANKRUPTCY COURT

 13                                        DISTRICT OF OREGON

 14   In re                                                     Case No. 19-62584-pcm11

 15   NORPAC Foods, Inc.,

 16                                   Debtor.

 17   In re                                                     Case No. 19-33102-pcm11
 18   Hermiston Foods, LLC,
 19                                   Debtor.
 20
      In re                                                     Case No. 19-33103-pcm11
 21
      Quincy Foods, LLC,                                        DEBTORS’ MOTION FOR ORDER
 22                                                             AUTHORIZING PAYMENT OF
                                      Debtor.                   PREPETITION WAGES, SALARIES,
 23                                                             COMPENSATION, EXPENSES,
                                                                BENEFITS, AND RELATED TAXES;
 24                                                             AND TO CONTINUE EMPLOYEE
                                                                BENEFITS POSTPETITION
 25
                                                                EXPEDITED HEARING REQUESTED
 26

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              WAGES, SALARIES, COMPENSATION, EXPENSES, BENEFITS, AND RELATED
              TAXES; AND TO CONTINUE EMPLOYEE BENEFITS POSTPETITION
                                                    Tonkon Torp LLP
                                                888 SW Fifth Ave., Suite 1600
                                                     Portland, OR 97204
                                                       503.221.1440
                              Case 19-62584-pcm11              Doc 6            Filed 08/22/19
  1                  Debtors and Debtors-in-Possession NORPAC Foods, Inc. (“NORPAC”),

  2   Hermiston Foods, LLC (“Hermiston Foods”), and Quincy Foods, LLC (“Quincy Foods”)

  3   (together, “Debtors”) move this Court for entry of an order authorizing payment of prepetition

  4   wages, salaries, commissions, expenses, benefits, and related taxes; and to continue employee

  5   benefits postpetition. In support of this Motion, Debtors incorporate the statements contained in

  6   the Declaration of Winston Mar in Support of First Day Pleadings (the “Mar Declaration”) filed

  7   contemporaneously herewith, and further respectfully state as follows:

  8                  1.      On August 22, 2019 (the “Petition Date”), Debtors filed voluntary

  9   petitions for relief under Chapter 11 of Title 11 of the United States Code.

 10                  2.      Debtors have continued in possession of their property and are continuing

 11   to operate and manage their business as debtors-in-possession pursuant to Sections 1107(a) and

 12   1108 of Title 11 of the United States Code.

 13                  3.      No request has been made for the appointment of a trustee or examiner,

 14   and no official committee of unsecured creditors has been appointed in Debtors’ cases at this

 15   time.

 16                  4.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

 17   and 1334. Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. This is a

 18   core proceeding pursuant to 28 U.S.C. § 157(b)(2).

 19                  5.      NORPAC, a farmer-owned cooperative, along with its wholly-owned

 20   subsidiaries Hermiston Foods and Quincy Foods, is the largest independent, standalone

 21   processor of high-quality organic and conventional frozen vegetables and fruits in the Pacific

 22   Northwest. NORPAC owns raw processing plants in Brooks, Oregon, and Stayton, Oregon, a

 23   packaging plant and corporate headquarters building in Salem, Oregon, a harvesting operation in

 24   Hermiston, Oregon, and a raw processing, roasting, and packing plant in Quincy, Washington.

 25   Debtors have over 1,125 full-time employees along with up to 1,100 seasonal employees.

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  1                   6.     Debtors have a diverse supplier base built on an extensive network of over

  2   220 contract growers made up of family-owned farms (145 farms in Oregon and 75 farms in

  3   Washington) spanning more than 40,000 acres. Debtors have long-term, established

  4   relationships with a global blue-chip customer base of over 1,250 customers, spanning the retail,

  5   foodservice, club, export, and industrial channels.

  6                   7.     Additional information and background regarding Debtors' history, assets,

  7   structure, operations, and business are contained in the Declarations of Winston Mar and Shawn

  8   Campbell in Support of First Day Motions filed contemporaneously herewith.

  9                   8.     Debtors pay some employees on a weekly basis and other employees on a

 10   bi-weekly basis.

 11                   9.     The payroll paid on a weekly basis is approximately $1,200,000 to

 12   $1,500,000 per pay period, and the payroll paid on a bi-weekly basis is approximately $600,000

 13   per pay period.

 14                   10.    Debtors employ both hourly and salaried employees, as follows:

 15                          a.     NORPAC employs approximately 1,482 hourly employees and

 16   201 salaried employees. Certain of NORPAC’s hourly employees are paid weekly on Fridays;

 17   other of NORPAC’s hourly employees and all of its salaried employees are paid bi-weekly every

 18   other Friday.

 19                          b.     Hermiston Foods employs approximately 29 hourly employees and

 20   3 salaried employees. Hermiston Foods’ employees are all paid bi-weekly every other Friday.

 21                          c.     Quincy Foods employs approximately 323 hourly employees and

 22   28 salaried employees. Quincy Foods’ employees are all paid bi-weekly every other Friday.

 23                          d.     Payrolls are initiated on Wednesday of each week. Debtors’

 24   payments to employees are made via either electronic transfer or paper check. On Wednesday of

 25   each week the Debtors issue payment to those receiving electronic transfer by initiating the

 26   electronic transfer and print checks for those who are paid by check. The checks are delivered to

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  1   Debtors’ facilities on Thursday for distribution on Friday.

  2                  11.    Employees who are paid weekly have been paid their wages for the pay

  3   period August 4, 2019 through August 10, 2019. Employees who are paid on a bi-weekly basis

  4   have been paid for the pay period ending on August 3, 2019. Because the Petition Date is

  5   August 22, 2019, Debtors have incurred unpaid prepetition obligations for wages, salaries,

  6   expenses, commissions, and other employment compensation and benefits for the period August

  7   3, 2019 to August 21, 2019.

  8                  12.    The total amount Debtors are obligated to pay for accrued and unpaid

  9   prepetition wages, salaries, expenses, commissions, compensation, taxes, and benefits for the

 10   period August 3, 2019 to August 21, 2019 is approximately $2,323,832.04 for over 2,000

 11   employees. No individual is owed more than $12,850 for prepetition wages, salaries,

 12   commissions, or other compensation, including benefits, and Debtors will not pay, and do not

 13   request authority to pay, any person more than the $12,850 amount of their priority claim as

 14   provided by 11 U.S.C. §§ 507(a)(4) and (a)(5).

 15                  13.    Those persons who receive an electronic transfer have already been

 16   transferred the funds by the Debtors. Those persons to be paid on August 23, 2019 by paper

 17   checks will be delivered those checks in the ordinary course of business on Friday, August 23,

 18   2019. Debtors seek immediate entry of this Order so that the paychecks delivered on August 23,

 19   2019 can be processed and cleared by Wells Fargo Bank, N.A. (“Wells Fargo”), the bank

 20   account from which the funds are issued.

 21                  14.    Payroll payments are drawn on Debtors’ funds held at Wells Fargo,

 22   Account Numbers ending in 9073 (NORPAC), 6125 (NORPAC), 1017 (Hermiston Foods), and

 23   1025 (Quincy Foods). Payroll funds are identified by a special check series different from

 24   checks issued for other payments.

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                            Case 19-62584-pcm11                 Doc 6            Filed 08/22/19
  1                                         RELIEF REQUESTED

  2                  15.       Debtors request that this Court enter an order, pursuant and subject to

  3   Sections 105(a) and 507(a)(4) and (a)(5) of the Bankruptcy Code, authorizing Debtors to (a) pay

  4   to or for the benefit of their employees incurred but unpaid prepetition wages, salaries,

  5   commissions, reimbursable employee business expenses, and other compensation on the

  6   regularly scheduled postpetition pay dates; (b) pay any and all local, state, and federal

  7   withholding and payroll-related taxes relating to prepetition periods, including, but not limited

  8   to, all prepetition withholding taxes, social security taxes, Medicare taxes, and unemployment

  9   taxes; (c) pay all court-ordered wage garnishments, including, but not limited to, child support

 10   and tax garnishments; (d) make accrued prepetition contributions or payments directly on

 11   account of employee benefits; (e) continue to honor, and pay as and when appropriate, earned

 12   but unused vacation and other benefits accrued prepetition; and (f) continue existing employee

 13   benefits postpetition.

 14                  16.       Debtors request that this Court enter an Order requiring Wells Fargo to

 15   honor all electronic transfers and paper payroll checks drawn on NORPAC accounts ending in

 16   9073 and 6125, and Hermiston Foods account ending in 1017 and Quincy Foods account ending

 17   in 1025.

 18                                  BASIS FOR RELIEF REQUESTED

 19                  17.       To protect the value of Debtors’ business as a going concern, Debtors

 20   must honor their prepetition wage obligations. A failure to pay accrued wages, salaries,

 21   commissions, expenses, benefits, and other related obligations, or even a delay in such payment,

 22   would have a significant negative impact on worker morale and some employees may not report

 23   to work, thereby impairing Debtors’ ability to continue operations. Debtors believe the

 24   requested relief will enable them to maintain their current operations without interruption and, at

 25   the same time, maintain worker morale. Debtors’ employees are vital to their efforts to

 26   reorganize and provide essential services, without which Debtors would be unable to function.

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  1   Without the relief requested, Debtors’ ability to preserve their assets for the benefit of all

  2   creditors and equity security holders, and Debtors’ ability to successfully reorganize, will be

  3   severely impaired.

  4                  18.     It is in the best interests of Debtors and their creditors that the above-

  5   described wages, salaries, compensation, payroll taxes, and employee benefits be paid, for the

  6   reason that such payments will enable Debtors to continue to operate their business in the

  7   ordinary course.

  8                  19.     Pursuant to Rules 6003(b) and 6004(h) of the Federal Rules of Bankruptcy

  9   Procedure (“Bankruptcy Rules”), Debtors seek (a) immediate entry of an order granting the relief

 10   sought herein, and (b) a waiver of any stay of the effectiveness of such an order. Bankruptcy

 11   Rule 6003(b) provides, in relevant part, that “[e]xcept to the extent that relief is necessary to

 12   avoid immediate and irreparable harm, the court shall not, within 21 days after the filing of the

 13   petition, issue an order granting * * * a motion to pay all or part of a claim that arose before the

 14   filing of the petition * * *.” Accordingly, where the failure to grant any such requested relief

 15   would result in immediate and irreparable harm to Debtors’ estates, the Court may allow Debtors

 16   to pay all or part of a claim that arose before the Petition Date prior to the 21st day following the

 17   Petition Date. Bankruptcy Rule 6004(h) provides that “[a]n order authorizing the use, sale, or

 18   lease of property other than cash collateral is stayed until the expiration of 14 days after entry of

 19   the order, unless the court orders otherwise.”

 20                  20.     As set forth above and in the Mar Declaration, payment of the prepetition

 21   wages, salaries, compensation, expenses, benefits, and related taxes is necessary to prevent

 22   immediate and irreparable damage to Debtors’ business operations and their ability to operate in

 23   the ordinary course. Accordingly, ample cause exists to justify (a) the immediate entry of an

 24   order granting the relief requested herein, and (b) a waiver of the 14-day stay imposed by

 25   Bankruptcy Rule 6004(h), to the extent it applies.

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                             Case 19-62584-pcm11                 Doc 6            Filed 08/22/19
  1                  WHEREFORE, Debtors respectfully request that the Court enter an expedited

  2   order, substantially in the form attached hereto as Exhibit 1, granting the relief requested in the

  3   Motion and such other and further relief as this Court deems just and proper.

  4                  DATED this 22nd day of August, 2019.

  5                                                   TONKON TORP LLP
  6

  7                                                   By /s/ Timothy J. Conway
                                                         Albert N. Kennedy, OSB No. 821429
  8                                                      Timothy J. Conway, OSB No. 851752
                                                         Michael W. Fletcher, OSB No. 010448
  9                                                      Ava L. Schoen, OSB No. 044072
                                                         Attorneys for Debtors
 10

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                            Case 19-62584-pcm11                 Doc 6            Filed 08/22/19
 EXHIBIT 1
PROPOSED FORM OF ORDER




Case 19-62584-pcm11   Doc 6   Filed 08/22/19
                         UNITED STATES BANKRUPTCY COURT

                                  DISTRICT OF OREGON

In re                                                    Case No. 19-62584-pcm11

NORPAC Foods, Inc.,

                            Debtor.

In re                                                    Case No. 19-33102-pcm11

Hermiston Foods, LLC,

                            Debtor.

In re                                                    Case No. 19-33103-pcm11

Quincy Foods, LLC,                                       ORDER GRANTING DEBTORS’
                                                         MOTION FOR ORDER
                            Debtor.                      AUTHORIZING PAYMENT OF
                                                         PREPETITION WAGES, SALARIES,
                                                         COMPENSATION, EXPENSES,
                                                         BENEFITS, AND RELATED TAXES;
                                                         AND TO CONTINUE EMPLOYEE
                                                         BENEFITS POSTPETITION

              THIS MATTER having come before the Court upon Debtors’ Motion for Order

Authorizing Payment of Prepetition Wages, Salaries, Commissions, Expenses, Benefits, and


Page 1 of 3 - ORDER GRANTING DEBTORS’ MOTION FOR ORDER AUTHORIZING PAYMENT OF
             PREPETITION WAGES, SALARIES, COMPENSATION, EXPENSES, BENEFITS, AND
             RELATED TAXES; AND TO CONTINUE EMPLOYEE BENEFITS POSTPETITION
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                                               503.221.1440             Filed 08/22/19
Related Taxes; and to Continue Employee Benefits Postpetition (the “Motion”) [ECF No. _____];

the Court having reviewed the Motion and the Declaration of Winston Mar in Support of First

Day Pleadings, and having considered the statements of counsel at a hearing before the Court (the

“Hearing”); and the Court having found that (1) the Court has jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334; (2) venue is proper in this district pursuant to 28 U.S.C.

§§ 1408 and 1409; (3) this is a core proceeding pursuant to 28 U.S.C. § 157(b); and (4) notice of

the Motion and the Hearing was sufficient under the circumstances; and after due deliberation the

Court having determined that the relief requested in the Motion is in the best interests of Debtors,

their estates, and the creditors; and good and sufficient cause having been shown; now, therefore,

               IT IS HEREBY ORDERED that:

               1.      Debtors’ Motion is GRANTED.

               2.      Debtors are authorized (a) to pay incurred prepetition wages, salaries,

reimbursable employee business expenses, commissions, and other compensation on the

regularly-scheduled postpetition pay dates including, nunc pro tunc, the August 23, 2019 pay

date; (b) to pay any and all local, state, and federal withholding and payroll-related taxes relating

to prepetition periods, including, but not limited to, all prepetition withholding taxes, social

security taxes, Medicare taxes, and unemployment taxes; (c) to pay all court-ordered wage

garnishments, including, but not limited to, child support and tax garnishments; (d) to make

accrued prepetition contributions or payments directly on account of employee benefits; (e) to

continue to honor, and pay as and when appropriate, earned but unused vacation and other

benefits accrued prepetition; (f) to continue existing employee benefits postpetition; provided,

however, that with respect to prepetition obligations, Debtors will not pay with respect to any

individual more than the $12,850 priority amount provided by 11 U.S.C. §§ 507(a)(4) and (a)(5)

               3.      Wells Fargo Bank, N.A. is hereby ordered and directed to honor all checks

or electronic transfers issued for payment of the obligations described above.



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               PREPETITION WAGES, SALARIES, COMPENSATION, EXPENSES, BENEFITS, AND
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                4.      The requirements of Bankruptcy Rule 6003(b) have been satisfied with

respect to the payments authorized by this Order.

                5.      Pursuant to Bankruptcy Rule 6004(h), this Order shall be immediately

effective and enforceable upon its entry.

                                                    ###

I certify that I have complied with the requirements of LBR 9021-1(a).

Presented by:

TONKON TORP LLP



By
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